Case: 2:19-cv-00119-MHW-EPD Doc #: 34 Filed: 08/22/19 Page: 1 of 3 PAGEID #: 181




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

STEPHANIE CLIFFORD a.k.a.                          :
STORMY DANIELS, an individual,                     :     Case No. 2:19-cv-00119
                                                   :
                    Plaintiff                      :     Judge Michael H. Watson
                                                   :     Magistrate Judge Elizabeth Preston Deavers
                                                   :
     v.                                            :
                                                   :
SHANA M. KECKLEY, et al.,                          :
                                                   :
                         Defendants.               :

                           RULE 41 STIPULATION OF VOLUNTARY
                           PARTIAL DISMISSAL WITH PREJUDICE

          Plaintiff, Stephanie Clifford, by and through her attorneys, and Defendant City of

Columbus hereby file a Fed.R.Civ.Pro. 41(a)(1)(A)(ii) Voluntary Partial Dismissal with Prejudice

signed by all served parties dismissing any state-law claims against Defendant City of Columbus

only, with prejudice to refiling. The City of Columbus remains a defendant in Fifth Cause of

Action under a theory of municipal liability for 42 U.S.C. § 1983.

          The Parties pursuant to the stipulation and dismissal with prejudice agree that all parties

will bear their own attorney fees and costs for the matter related to Defendant City of Columbus

and the dismissed state-law claims.

                                           Respectfully Submitted


 /s/ Chase A. Mallory____                              /s/ Guy A. Fortney
 Chase A. Mallory (0084728)                            Clark O. Brewster - OBA #1114
 Chase@SabolMallory.com                                (Admitted Pro Hac)
 SABOL MALLORY, LLC                                    Guy A. Fortney - OBA #17027
 743 South Front Street                                (Admitted Pro Hac)
 Columbus, Ohio 43206                                  BREWSTER & DE ANGELIS
 phone: (614) 300-5088                                 2617 East 21st Street
 fax: (614) 636-4545                                   Tulsa, OK 74114
 Attorneys for the Plaintiff                           (918) 742-2021 – Telephone
                                                       (918) 742-2197 – Fax
                                                       Attorneys for the Plaintiff
Case: 2:19-cv-00119-MHW-EPD Doc #: 34 Filed: 08/22/19 Page: 2 of 3 PAGEID #: 182




   /s/ Larry H. James                           /s/ Westley M. Phillips
   Larry H. James                               Westley M. Phillips (0077728)
   Crabbe, Brown & James LLP                    Assistant City Attorney
   500 South Front Street, Suite 1200           CITY OF COLUMBUS, DEPARTMENT
   Columbus, OH 43215                           OF LAW
   Attorneys for Defendants Shana M.            77 North Front Street,
   Keckley, Whitney R. Lancaster, Mary S.       Columbus, Ohio 43215
   Praither, and Steven G. Rosser               (614) 645-6959 / (614) 645-6949 (fax)
                                                wmphillips@columbus.gov
                                                Attorney for Defendant City of Columbus




                                            2
Case: 2:19-cv-00119-MHW-EPD Doc #: 34 Filed: 08/22/19 Page: 3 of 3 PAGEID #: 183




                              CERTIFICATE OF SERVICE

       I certify that on August 22, 2019, a true and exact copy of the above and foregoing
   document was served to the following counsel via: � U.S. first-class mail, with postage pre-
   paid, � Certified Mail, Return Receipt Requested, � facsimile, X e-mail, � hand delivery:

   Larry H. James
   Crabbe, Brown & James LLP
   500 South Front Street, Suite 1200
   Columbus, OH 43215
   Attorneys for Defendants Shana M. Keckley,
   Whitney R. Lancaster, Mary S. Praither,
   and Steven G. Rosser


    Westley M. Phillips (0077728)
   Assistant City Attorney
   CITY OF COLUMBUS, DEPARTMENT OF LAW
   ZACH KLEIN, CITY ATTORNEY
   77 North Front Street, Columbus, Ohio 43215
   (614) 645-6959 / (614) 645-6949 (fax)
   wmphillips@columbus.gov
   Attorney for Defendant City of Columbus



                                           /s/ Guy A. Fortney




                                              3
